139 F.3d 912
    98 CJ C.A.R. 1139
    NOTICE:  Although citation of unpublished opinions remains unfavored, unpublished opinions may now be cited if the opinion has persuasive value on a material issue, and a copy is attached to the citing document or, if cited in oral argument, copies are furnished to the Court and all parties.  See General Order of November 29, 1993, suspending 10th Cir. Rule 36.3 until December 31, 1995, or further order.
    Ronnie Ladale THOMAS, Petitioner--Appellant,v.J.W. BOOKER, Respondent--Appellee.
    No. 97-1344.
    United States Court of Appeals, Tenth Circuit.
    Feb. 27, 1998.
    
      Before PORFILIO, KELLY, and HENRY, Circuit Judges.
    
    
      1
      ORDER AND JUDGMENT*
    
    
      2
      After examining the briefs and appellate record, this panel has determined unanimously that oral argument would not materially assist the determination of this appeal.  See Fed.  R.App. P. 34(a);  10th Cir.  R. 34.1.9.  The case is therefore ordered submitted without oral argument.
    
    
      3
      Our review indicates the district court did not err.  The motion to appeal without prior payment of costs is GRANTED.  The judgment is AFFIRMED for the reasons stated in the district court's order of dismissal.
    
    
      
        *
         This order and judgment is not binding precedent, except under the doctrines of law of the case, res judicata, and collateral estoppel.  This court generally disfavors the citation of orders and judgments;  nevertheless, an order and judgment may be cited under the terms and conditions of 10th Cir.  R. 36.3
      
    
    